                    Case 1:18-cv-11028-GAO Document 2-1 Filed 05/21/18 Page 1 of 1
                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Analog Devices, Inc. v. MACOM Technology Solutions Holdings, Inc.



2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
    rule 40.1(a)(1)).

    ✔         I.        410, 441, 470, 535, 830*, 891, 893, 895, R.23, REGARDLESS OF NATURE OF SUIT.

              II.       110, 130, 140, 160, 190, 196, 230, 240, 290,320,362, 370, 371, 380, 430, 440, 442, 443, 445, 446, 448, 710, 720,
                        740, 790, 820*, 840*, 850, 870, 871.

              III.      120, 150, 151, 152, 153, 195, 210, 220, 245, 310, 315, 330, 340, 345, 350, 355, 360, 365, 367, 368, 375, 385,
                        400,422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 530, 540, 550, 555, 625, 690, 751, 791, 861-865, 890, 896,
                        950.

                        *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.



4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                    YES                NO    ✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?       (See 28 USC
   §2403)

                                                                                    YES                NO     ✔
                                                                                                               
    If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                    YES                NO     
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                    YES                NO     ✔
                                                                                                               
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                    YES     ✔
                                                                                                       NO     
              A.        If yes, in which division do all of the non-governmental parties reside?

                        Eastern Division     ✔                 Central Division                       Western Division     
              B.        If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                        residing in Massachusetts reside?


                        Eastern Division                       Central Division                       Western Division     
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                    YES                NO     
(PLEASE TYPE OR PRINT)
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                                                                                                                (CategoryForm-201.wpd )
